     Case 24-50346-grs    Doc 96-1 Filed 05/18/24 Entered 05/18/24 05:04:44             Desc
                              Proposed Order Page 1 of 1



                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

                                       :
                                       :           Case No. 24-50346
                                       :           Chapter 11– Subchapter V
     In re                             :
                                       :           Small business case
     Fast Flow Plumbing LLC
                                       :
     Debtor                            :           Hon. Gregory R. Schaaf
                                       :
                                       :           United States Bankruptcy Judge
                                       :
       ORDER GRANTING 14-DAY EXTENSION :  TO FILE DEBTOR IN POSSESSION
                                       :
                            MONTHLY OPERATING REPORT
                                       :



         This matter having come before the Court on Debtor’s Motion for an Extension of Time to
file Debtor in Possession Monthly Operating Report for the month of March 2024; the Court being
sufficiently advised, IT IS ORDERED:

1.       Debtor’s motion is GRANTED;

2.       Debtor shall have until Monday, Tuesday June 4, 2024, to file the Debtor in Possession
         Monthly Operating Report for the month of April 2024.




         SO ORDERED,
